












Dismissed and Memorandum
Opinion filed July 29, 2010.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00479-CR

____________

&nbsp;

JERRY ALLEN HENDERSON, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 174th District Court

Harris County, Texas

Trial Court Cause No. 1164930

&nbsp;



&nbsp;

MEMORANDUM
OPINION

Appellant entered a guilty plea to the offense of robbery.&nbsp;
In accordance with the terms of a plea bargain agreement with the State, the
trial court sentenced appellant on May 12, 2010, to confinement for two years
in the Institutional Division of the Texas Department of Criminal Justice.&nbsp;
Appellant filed a pro se notice of appeal.&nbsp; We dismiss the appeal. 

The trial court entered a certification of the defendant’s
right to appeal in which the court certified that this is a plea bargain case,
and the defendant has no right of appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court’s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The record supports the
trial court’s certification.&nbsp; See Dears v. State, 154 S.W.3d 610, 615
(Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Anderson, Frost, and Seymore.

Do Not Publish C Tex. R. App. P.
47.2(b)





